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         UNITED STATES DISTRICT COURT
   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                          No. 2:20-cv-966


    DONALD J. TRUMP FOR PRESIDENT, INC., et al.,

                                            Plaintiffs

                                 v.

    KATHY BOOCKVAR, in her capacity as Secretary of the
    Commonwealth of Pennsylvania, et al.,

                                            Defendants


                             ORDER


           In its earlier memorandum order [ECF 459], the
    Court neglected to mention one other claim that it
    abstained from deciding under Pullman but which was not
    addressed in the Pennsylvania Supreme Court’s recent
    rulings. That is, Plaintiffs’ claims regarding Secretary
    Boockvar’s guidance that in-person mail-in ballots shall be
    accepted absent a “bona fide objection.” As the Court
    explained in its abstention opinion [ECF 409, pp. 21-23],
    those claims, too, are based on an unsettled question of
    state law. Accordingly, for the same reasons that the Court
    will continue to abstain from deciding Plaintiffs’ claims as
    to whether drop-boxes must comply with the notice and site
    requirements applicable to “polling places,” see [ECF 459,
    pp. 5-6], the Court will also continue to abstain from
    deciding Plaintiffs’ claims regarding verification of in-
    person, mail-in ballot applications.


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         In all other respects, the       Court’s   earlier
    memorandum order [ECF 459] applies.

                           BY THE COURT:


                           /s/ J. Nicholas Ranjan
                           United States District Judge




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